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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

UNITED STATES OF AMERICA                 )
                                         )
                                         )
                    v.                   ) 2:20-cr-00041-JDL
                                         )
ANTRON OWENS,                            )
                                         )
      Defendant.                         )


             ORDER ON DEFENDANT’S MOTION TO SUPPRESS

      On March 13, 2020, Antron Owens was indicted on one count of possession

with intent to distribute cocaine base, in violation of 21 U.S.C.A. § 841(a)(1), (b)(1)(B)

(West 2021) (ECF No. 23). Owens has moved to suppress the introduction at trial of

all evidence obtained as a result of a traffic stop of a car in which Owens was a

passenger, conducted by state police on October 29, 2019 (ECF No. 32). He contends

that the stop should have concluded after approximately eight and a half minutes

with the issuance of a traffic citation to the car’s driver. Instead, the stop lasted for

an additional thirty-eight minutes, at which point a canine sniff of the car resulted

in a positive alert for the presence of drugs. On April 21, 2021, I conducted an

evidentiary hearing by videoconference (ECF No. 65). For the reasons that follow, I

grant the motion to suppress.

                           I. FACTUAL BACKGROUND

      The October 2019 traffic stop was initiated and conducted primarily by Maine

State Police Sergeant Thomas Pappas, who had participated in a previous traffic stop
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in June 2019 of a vehicle in which Owens was also a passenger. Because it is relevant

to my analysis of the October stop, I begin with the June stop.

A.      The June 2019 Stop

        On June 27, 2019, a Maine State Police trooper stopped a car bearing New

Jersey license plates heading south on the Maine Turnpike near York. Owens was a

passenger in the car, and another man was driving. Both men were Black. 1 Initially,

the trooper told the driver that he had pulled the car over for speeding in a

construction zone. Def.’s Ex. 1 at 1:50. After obtaining the driver’s information, the

trooper asked Owens for his identification. Owens asked the trooper why he needed

his ID, and the trooper responded that the occupants were “smoking marijuana in the

car.” Id. at 2:25-2:30. The driver and Owens protested this assertion, and the driver

asked if Owens could record the stop on his cell phone, id. at 2:33, but the trooper

said that Owens’s recording was unnecessary because the trooper’s camera and

microphone were on and the stop was being recorded, id. at 2:40-2:45. The driver

then told Owens to “put it [the cell phone] on,” because he “want[ed] this recorded.”

Id. at 2:46. The trooper said that he didn’t know why the driver was “giving [him]

such a hard time,” id. at 2:51, and directed the driver to get out of the car for field

sobriety tests, id. at 3:20. When the driver refused, the trooper returned to his cruiser




 1 In his reply memorandum, Owens asserts that the June 2019 stop resulted from, and was shaped
by, improper racial profiling: “[T]he Government asks the court to infer that because Defendant is
black, wears dreadlocks, was traveling south in a car with New Jersey plates with a black driver who
had cash, that he must be involved in illegal drugs. That is racial profiling, not reasonable suspicion.”
ECF No. 39 at 9. Owens’s counsel did not question Sergeant Pappas regarding racial profiling, nor
was it otherwise raised during the suppression hearing. For that reason, I treat it as abandoned and
do not address it further.
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and called for backup. Ultimately, Owens recorded much of the stop with his cell

phone.

      After the driver exited the vehicle, he was administered field sobriety tests,

which he passed without incident, but the trooper, now assisted by other troopers

who had arrived on the scene, including Sergeant Pappas, handcuffed the driver and

proceeded to search the car. Although Sergeant Pappas testified at the evidentiary

hearing that the search was prompted by a positive dog sniff on the car, no dog sniff

was ever conducted, as the Government conceded following the hearing. To effectuate

the search, the troopers removed Owens from the car and frisked him, and the trooper

who had initiated the stop (the “lead trooper”) told the other troopers that Owens had

“been recording this whole time.” Id. at 21:15. During the search, Sergeant Pappas

stood near Owens on the side of the road. In the course of the search, the troopers

found about $5,000 in cash in the car.

      After additional questioning, the lead trooper issued the driver a ticket for

speeding. As Owens and the driver prepared to leave, the driver made a remark—

which is inaudible from the lead trooper’s microphone and in the dashcam video of

the stop—that the troopers interpreted as an accusation that the troopers had taken

some of the cash. Id. at 48:43. In response to the remark, Sergeant Pappas ordered

the driver to get out of the car and count the money. Id. at 48:49. The driver complied,

and after he finished counting the money, the stop ended and the troopers went on

their way. Although Sergeant Pappas testified that it was Owens who challenged the

troopers about the cash, it was the driver who voiced the challenge, as the

Government conceded following the hearing.

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      The troopers’ comments throughout the stop, both to one another and to Owens

and his companion, reflect that the troopers suspected that the driver and Owens

were drug dealers who had sold drugs in Maine and would return again for the same

purpose. For example, the lead trooper said to another trooper, “They [referring to

Owens and the driver] just spent a couple days up here selling stuff,” although the

troopers had found no evidence to support that assertion. Id. at 24:25. Also, the lead

trooper said to Owens, “We get it man, there’s a good market here, make a lot of

money here,” id. at 31:27; and “It’s nothing personal, man, you guys came up, you

made a couple grand, you got away with it this time,” id. at 31:50.

B.    The October 2019 Stop

      A few months later, on October 29, 2019, Sergeant Pappas was on patrol on

the Maine Turnpike when he noticed a black Kia Soul traveling northbound near

Wells. It was 3:15 a.m. and raining, and the car initially drew Sergeant Pappas’s

attention because it was following a tractor-trailer in the middle lane at an unsafely

close distance, given the nighttime and weather conditions. Sergeant Pappas ran the

car’s license plate and learned that the registration had expired several months

earlier and that the car had not been reported stolen. He turned on his police cruiser’s

emergency lights, and the car pulled over onto the left shoulder of the northbound

travel lanes—that is, onto the shoulder of the median, rather than the right shoulder

of the travel lanes. Sergeant Pappas pulled over to the right shoulder, and at his




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verbal direction over his cruiser’s loudspeaker, the driver safely crossed the highway

and stopped in front of Sergeant Pappas’s cruiser. Gov’t’s Ex. 1 at 2:25. 2

        Sergeant Pappas approached the passenger side of the car and met the

occupants. Id. at 3:00. In addition to the driver, a white woman, Owens was seated

in the front passenger seat, and there was another Black man lying down in the

backseat. Sergeant Pappas recognized Owens from the June stop. In addition,

Sergeant Pappas testified that the rear passenger was sleeping when he approached

the car, which Sergeant Pappas viewed as suspicious. Sergeant Pappas also observed

an intact, unused Q-tip resting on the car’s center console. Sergeant Pappas testified

that the driver did not appear impaired.

        Sergeant Pappas asked the driver for her driver’s license, registration, and

proof of insurance. Id. at 3:13. She produced an insurance card but did not have her

license in the front of the car with her, and said that she had to retrieve it from the

rear cargo area. Id. at 3:15. Sergeant Pappas also asked the rear passenger for his

identification because he was not wearing a seatbelt, id. at 3:26-3:32, and the rear

passenger produced his driver’s license, id. at 4:12, 7:00. Sergeant Pappas asked

Owens for his ID as well, id. at 3:55; Owens said that he did not have his ID, but he

told Sergeant Pappas his name, id. at 4:51. The driver also told Pappas that the car

was not hers, but belonged to her boyfriend and his stepfather. Id. at 4:41.




 2 “A lawful roadside stop begins when a vehicle is pulled over for investigation of a traffic violation.”

Arizona v. Johnson, 555 U.S. 323, 333 (2009). For purposes of the timeline in this case, I treat the
moment that the Kia crossed the highway to pull onto the right shoulder in front of Sergeant Pappas’s
cruiser, rather than the moment that the car originally stopped on the median or the moment that
Sergeant Pappas approached the car on foot, as the commencement of the stop.

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      Sergeant Pappas accompanied the driver to the rear of the car to look for her

license in the trunk, which was packed with her belongings. As the driver searched

for her license, she explained that she had been living in the car for a few weeks. Id.

at 6:12. Sergeant Pappas noticed an empty, intact, plastic sandwich baggie in her

wallet. Id. at 6:32. He asked the driver about the baggie, and she responded that it

had held celery sticks that she had eaten earlier that day. Id. at 6:36. Sergeant

Pappas also noticed a single, clean plate in the trunk. As I will explain, the Q-tip,

baggie, and plate figured prominently in Sergeant Pappas’s conclusion that criminal

activity was afoot. Sergeant Pappas testified that it was at this point that his

attention turned to conducting a drug investigation:

      Q.    Sergeant Pappas, when did you believe the traffic stop moved into
      a drug investigation?

      A.     The traffic stop moved into a drug investigation and I developed
      more than enough reasonable articulable suspicion to hold the vehicle
      and continue an investigation outside the scope of the initial traffic stop
      when – at the point when I was at the rear of the vehicle when [the
      driver] opened up the car, the rear hatch, she was searching for her
      license, her behavior became increasingly nervous, she herself admitted
      that she was nervous. I saw the bag. I saw the plate, coupled with every
      other thing that I testified to, I believed that there was nefarious
      behavior in this specific case, most likely drug distribution going on.

ECF No. 72 at 58.

      The driver was ultimately unable to find her license, and about five minutes

and twenty seconds after the car had pulled over to the right shoulder, Sergeant

Pappas returned to his cruiser and directed the driver to stand outside the cruiser’s

passenger-side window to answer questions. Gov’t’s Ex. 1 at 7:00. Another trooper


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arrived on the scene while the driver was searching for her license, and he spoke to

Owens and the other passenger, who remained in the Kia while Sergeant Pappas was

with the driver. All three occupants were calm and polite throughout the stop.

        When a driver is unable to produce a driver’s license, Maine State Police can

verify the driver’s identity and authorization to operate the vehicle by checking their

name and date of birth against a database, which is what Sergeant Pappas did when

he returned to his cruiser. While he was checking the driver’s information—a process

that was complicated somewhat by the driver’s hyphenated surname—he asked her

where she was coming from. Id. at 8:26. She responded, “New York,” but she could

not name the location within New York, explaining that she was “horrible with

directions in New York.” Id. at 8:31. Sergeant Pappas asked the driver if she had

ever been arrested, 3 and she told him that she had been convicted of a drug-related

crime “eight or ten years” earlier. ECF No. 72 at 30; see Gov’t’s Ex. 1 at 9:04. She

told him that she had spent fourteen months in prison for the offense. Gov’t’s Ex. 1

at 9:17. Sergeant Pappas asked the driver how she knew Owens and the other

passenger; she responded that she had met them through a friend at an apartment

complex in Bangor where she used to live. Id. at 9:20.

        About eight and a half minutes into the stop, Sergeant Pappas received

electronic confirmation that the driver had a valid Maine driver’s license. Id. at 10:50.

However, having decided to undertake a drug investigation before he received



 3 Sergeant Pappas testified that, as he was running the driver’s name through a series of state

databases, he “got a felony hit” on the driver. ECF No. 72 at 30. Although he did not specifically
testify that this information prompted his question to the driver, it is reasonable to think that it did.
He also testified that, at that time, he knew nothing about her criminal history apart from the fact
that she had previously been convicted of a felony.
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confirmation of the driver’s identification, he called into dispatch to request a K-9

unit; he made that first call just under eight minutes into the stop. Id. at 10:00-10:05.

There were no Maine State Police K-9 units available in the area, so Sergeant Pappas

began calling other local police departments to find an available K-9 unit. By about

twenty minutes into the stop, a K-9 unit was on its way from South Portland. Id. at

22:42.

         After Sergeant Pappas received confirmation of the driver’s identity and

license, he did not proceed to issue her a citation, but instead continued to

intermittently question her, while also making calls in search of an available K-9

unit. Two and a half minutes after he confirmed the driver’s identity, he asked her if

she had “just picked these people up,” id. at 13:31, and the driver responded that she

and Owens had picked up the rear-seat passenger, Owens’s cousin. Id. at 13:40. She

said that the cousin was “coming to stay with us,” and referred to him using the

nickname “Raul.” Id. at 13:40-13:45. When Sergeant Pappas asked who “Raul” was,

the driver chuckled and said, “Not the name that’s on the license.” Id. at 13:50. She

said, “You know how they are with their nicknames.” Id. at 13:54. She also referred

to Owens using a nickname. Id. at 16:48. A few minutes later, when Sergeant Pappas

asked her if she knew the passengers’ names, she replied, “Well yeah, I do, but only

what they tell you; that’s how most African-Americans are, that are in Bangor,

Maine.” Id. at 17:50-17:56.

         The driver told Sergeant Pappas that she and Owens had driven down from

the apartment complex in Bangor to pick up Owens’s cousin, because Owens had been

“looking for a ride” and she had not “had much going on lately.” Id. at 15:15-15:35.

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She said that they had been in New York for “three or four days,” visiting Owens’s

family, id. at 15:40, and that she “didn’t want to impede much on the whole family

thing, though, so [she] stayed in the car,” id. at 15:50. When Sergeant Pappas asked

her, “You slept in the car while you went down to New York?” the driver answered, “I

sleep in the car. That’s my life.” Id. at 15:53-15:58. She later told Sergeant Pappas

that she did not like to ask for things, id. at 17:08, but said that she had taken the

toll money that Owens had put in the center console to buy a sandwich earlier that

day, id. at 17:14.

       Once the K-9 unit was on its way, about twenty minutes into the stop, Sergeant

Pappas went back to the Kia to speak to the passengers himself. He asked them

about their itinerary and relationship with the driver, and their responses were

consistent with the driver’s descriptions. He also responded to their questions about

the reason for the stop, explaining that the car’s registration was expired and that

the police were “trying to deal with that right now.” Id. at 27:25.

       Around thirty-two minutes into the stop, Sergeant Pappas spoke on the phone

with an agent from the Maine Drug Enforcement Agency to discuss Owens. Id. at

34:45. The phone call was briefly interrupted in order for Sergeant Pappas to speak

by phone with the driver’s boyfriend, who confirmed that he had given the driver

permission to use his car. 4 After speaking with the driver’s boyfriend, Sergeant

Pappas asked the driver additional, conversational questions, and then waited in


 4 Before speaking with the drug enforcement agent, Sergeant Pappas had requested that the driver

call her boyfriend so that Sergeant Pappas could speak with him, but the boyfriend did not answer.
Gov’t’s Ex. 1 at 28:00, 29:50. Later, while Sergeant Pappas was on the phone with the drug
enforcement agent, the driver’s cell phone received a call from the boyfriend’s phone number. Id. at
36:00-36:30. Sergeant Pappas then called the driver’s boyfriend, again from the driver’s phone, and
spoke with him. Id. at 36:50.
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silence for the K-9 to arrive. At this point, he still had not issued a citation to the

driver for the expired registration. Owens and the other passenger had remained in

the Kia throughout the stop.

      About forty-six minutes into the stop, the K-9 unit finally arrived and a dog

sniff of the Kia was conducted, with Owens and the passenger still seated inside. The

dog alerted. After searching and handcuffing the driver, Sergeant Pappas directed

Owens to get out of the Kia, told him that he was being detained, and handcuffed

him. Sergeant Pappas asked Owens if he could pat him down and, without waiting

for an answer, Sergeant Pappas touched Owens’s waist. Sergeant Pappas felt and

then removed a bag containing what appeared to be cocaine base tucked under the

waistband of Owens’s pants. Owens was then placed under arrest.

                                 II. DISCUSSION

      Owens moves to suppress all evidence, including any drugs, seized as a result

of the October 2019 stop. He does not dispute that Sergeant Pappas legitimately

stopped the car for an expired registration. He contends, however, that Sergeant

Pappas extended the stop beyond the time necessary to handle the traffic violation

while lacking a reasonable suspicion to do so, in violation of the Fourth Amendment

as applied in Rodriguez v. United States, 575 U.S. 348 (2015). He also argues that

even if the extended stop and dog sniff were valid, the police violated his rights by

conducting the patdown search of his person.

      When, as here, the police conduct a warrantless search, the Government bears

the burden to show that the search was constitutional. See United States v. Acosta-

Colon, 157 F.3d 9, 14 (1st Cir. 1998); United States v. Longmire, 761 F.2d 411, 417

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(7th Cir. 1985) (“The general federal rule on who bears the burden of proof with

respect to an allegedly illegal search or seizure is based upon the warrant-no warrant

dichotomy: . . . if the police acted without a warrant, the prosecution bears the burden

of establishing legality.”).

A.     Legal Framework

       As a general matter, the authority to detain a vehicle “ends when tasks tied to

the traffic infraction are—or reasonably should have been—completed.” Rodriguez,

575 U.S. at 354. Here, Owens does not dispute that the stop was valid at its inception

based on the Kia’s expired registration. Instead, he argues that the police lacked a

reasonable suspicion to expand the scope and duration of the stop beyond the time

required to address the traffic infraction. The Government disagrees.

       “A routine traffic stop is more akin to a Terry stop than an arrest.” United

States v. Dion, 859 F.3d 114, 123 (1st Cir. 2017); see Terry v. Ohio, 392 U.S. 1 (1968).

“Like a Terry stop, the tolerable duration of police inquiries in the traffic-stop context

is determined by the seizure’s ‘mission’—to address the traffic violation that

warranted the stop . . . and attend to related safety concerns.” Rodriguez, 575 U.S.

at 354 (citations omitted). “[A]ny action undertaken [by the police] with respect to

the stop ‘must be reasonably related in scope to the stop itself unless the police have

a basis for expanding their investigation.’” Dion, 859 F.3d at 124 (quoting United

States v. Ruidíaz, 529 F.3d 25, 28-29 (1st Cir. 2008)). And because “a dog sniff is not

fairly characterized as part of the officer’s traffic mission,” Rodriguez, 575 U.S. 356,

“absent ‘the reasonable suspicion ordinarily demanded to justify detaining an

individual,’ a police officer may not prolong a traffic stop to conduct a K-9 sniff beyond

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the time necessary to handle the traffic violation that justified the stop,” United

States v. Ramdihall, 859 F.3d 80, 90 (1st Cir. 2017) (quoting Rodriguez, 575 U.S. at

355). However, “reasonable suspicion may . . . develop during the course of an

ordinary traffic stop so as to justify extending the seizure beyond the time needed to

accomplish its original purpose.” Id.

      For purposes of Rodriguez, a stop is unlawfully prolonged “when law

enforcement conducts an inquiry about crimes unrelated to the traffic stop and the

process adds time to the stop without a reasonable suspicion for the inquiry.” United

States v. Morganstern, --- F. Supp. 3d ---, 2020 WL 7588576, at *6 (D. Me. Dec. 22,

2020) (citing United States v. Stewart, 902 F.3d 664, 674 (7th Cir. 2018); United States

v. Clark, 902 F.3d 404, 410-11 (3d Cir. 2018); United States v. Bowman, 884 F.3d 200,

219 (4th Cir. 2018); United States v. Gomez, 877 F.3d 76, 88-93 (2d Cir. 2017); United

States v. Gorman, 859 F.3d 706, 715 (9th Cir. 2017)). In other words, the question is

not whether “the overall duration of the stop remains reasonable in relation to the

duration of other traffic stops involving similar circumstances.” Rodriguez, 575 U.S.

at 357. Instead, inquiries “unrelated to the traffic violation . . . that prolong or add

time to a traffic stop violate the Fourth Amendment absent reasonable suspicion of a

separate crime.” Gomez, 877 F.3d at 90.

      Applying Rodriguez to this case, the time at which Sergeant Pappas began to

prolong—i.e., “add[] time to,” 575 U.S. at 357—the stop was the moment that he

received confirmation of the driver’s identity. Upon his receipt of the confirmation,

about eight and a half minutes into the stop, he should reasonably have been able to

take steps to complete the stop’s traffic-related mission by writing the driver a

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citation and completing any other incidentals. However, Sergeant Pappas did not do

so. 5 Instead, he continued trying to find an available K-9 unit and asking the driver

non-traffic-related questions about her itinerary and relationship with the

passengers. In short, he abandoned the traffic-related purpose in pursuit of a drug

investigation, detaining the car and its occupants for additional time. By failing to

proceed with the traffic mission once he confirmed the driver’s Maine license, he

prolonged the stop. The crux of the matter, then, is whether Sergeant Pappas had a

reasonable suspicion of criminal activity, at the time he confirmed the driver’s

identity, to justify expanding the stop’s mission and duration.

B.      Reasonable Suspicion of Criminal Activity

        “The level of suspicion the reasonable suspicion standard requires is . . . less

than is necessary for probable cause.”               Ramdihall, 859 F.3d at 90 (alterations

omitted) (quoting Navarette v. California, 572 U.S. 393, 397 (2014)). “Reasonable

suspicion requires more, however, than an ‘inchoate and unparticularized suspicion

or hunch.’” Id. at 91 (quoting Terry, 392 U.S. at 27). “[A] finding of reasonable

suspicion must be premised upon a particularized and objective basis for suspecting

the particular person stopped of criminal activity.” Id. (internal quotation marks

omitted). “The particularity requirement ensures that the suspicion is grounded in

specific and articulable facts, . . . while the objectivity requirement dictates a focus


  5 The Government does not dispute this point, and acknowledges that Sergeant Pappas’s conduct

after he called for a K-9 unit—less than a minute before he confirmed the driver’s identity—was
primarily related to his suspicions of drug activity, stating in its written opposition to Owens’s motion:
“Once Pappas had called the K-9 unit, it follows [that] he wouldn’t simply issue a summons and allow
[the car’s occupants] to continue on their way.” ECF No. 37 at 11. Additionally, in its closing argument
at the suppression hearing, the Government agreed that the relevant question for the Court was to
assess whether Sergeant Pappas had a reasonable articulable suspicion at the time he confirmed the
driver’s identity.
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on what a reasonable law enforcement officer in the same or similar circumstances

would have thought.” Id. (internal quotation marks, citation, and alteration omitted).

       Additionally, a court “must assess the presence of reasonable suspicion ‘in a

commonsense, case-by-case way, taking in the whole picture.’” Dion, 859 F.3d at 124

(quoting United States v. McGregor, 650 F.3d 813, 821 (2011)). “[A] fact that is

innocuous in itself may in combination with other innocuous facts take on added

significance.”   Ruidíaz, 529 F.3d at 30.         Thus, the reasonable suspicion inquiry

requires a court to look at the totality of the circumstances, rather than undertaking

a “divide-and-conquer analysis” of each individual fact. United States v. Arvizu, 534

U.S. 266, 274 (2002). Based on the evidence presented, and for the reasons that

follow, the Government has not met its burden to establish that Sergeant Pappas had

a reasonable articulable suspicion of drug activity to justify extending the stop.

       The Government contends that by the time that Sergeant Pappas had

confirmed the driver’s name and the status of her license, he had developed a

reasonable articulable suspicion of criminal activity based on the following facts 6: (1)

the driver failed to properly pull over by stopping in the left median; (2) the driver

appeared disheveled, suggesting possible drug use; (3) the driver was nervous and

was unable to identify where in New York she had travelled from; (4) the driver stated

that she had slept in the car while in New York, and had taken money set aside in

the car’s center console in order to purchase food; (5) the driver had a prior felony




 6 In characterizing the Government’s arguments, I rely primarily on the prosecutor’s closing

argument made at the conclusion of the suppression hearing, and only secondarily on the arguments
made in the Government’s earlier written memorandum in opposition to the motion to suppress (ECF
No. 37). The latter did not account for Sergeant Pappas’s suppression hearing testimony.
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conviction for a drug-related offense; (6) the back seat passenger remained sleeping

even after the vehicle had come to a stop; (7) the Q-tip, baggie, and plate suggested

drug activity; and (8) Sergeant Pappas recognized Owens from the June stop.

       In evaluating the evidence, I am mindful of the admonition that courts should

not evaluate facts using a “divide-and-conquer analysis.” Arvizu, 534 U.S. at 274.

For ease and clarity of analysis, however, I address these facts sequentially, before

considering their total effect.

      First, the video establishes that the driver initially pulled her car over into the

left median and then, in response to Sergeant Pappas’s verbal direction, crossed the

Turnpike and parked on the right shoulder. Sergeant Pappas testified that he had

rarely seen this occur and, when he had, it was primarily with inexperienced drivers

or drivers who had reason to panic at the thought of being stopped by law

enforcement. Though the driver later explained to Sergeant Pappas that she had

pulled over to the median closest to the lane in which she was travelling because she

had never been pulled over on the highway before, Gov’t’s Ex. 1 at 7:25, a car’s initial

stop on the left median shoulder of a highway is, as Sergeant Pappas testified, cause

to believe that something might be amiss.

      Second, regarding the driver’s physical appearance: Sergeant Pappas testified

that “[t]he female driver had a very disheveled appearance. Hair was unkept, clothes

looked very untidy, no makeup, bags under the eyes. From my training, education,

experience, she reminded me of somebody that’s of substance abuse or having

substance abuse issues.” ECF No. 72 at 16. This description is largely at odds with

the video evidence. The driver’s clothing—pants and a sweatshirt—and her hair—

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which was in a bun—were commonplace. She does not look disheveled, her hair does

not look unusually unkempt, and her clothes do not appear untidy. Whether the

driver was wearing makeup is of no relevance. The extent to which the driver had

bags under her eyes cannot be determined from the video evidence. However, the

dashcam video demonstrates that the driver was responsive to Sergeant Pappas’s

questions and generally cooperative, and Sergeant Pappas testified that she did not

appear impaired. In fact, Sergeant Pappas did not perform field sobriety tests, nor

did he undertake any other investigation of the driver associated with her possibly

being under the influence of substances.               The driver’s appearance was also

unremarkable considering that it was after three in the morning, and she was

standing on the side of the Turnpike in October, in the rain and without a coat. 7

       Third, the driver volunteered to Sergeant Pappas that she was nervous, but

the degree of nervousness she exhibited was no greater than that commonly exhibited

by persons involved in a traffic stop. See, e.g., United States v. Massenburg, 654 F.3d

480, 490 (4th Cir. 2011). However, as I have previously described, the driver pulled

over on the left median of the Turnpike, which might in and of itself indicate

nervousness or panic on the part of a driver. Similarly, the driver’s inability to

identify where in New York she had travelled from also suggested the possibility of

nervousness or panic. ECF No. 37 at 9. A driver’s inability to identify where they

had come from may contribute to a suspicion that the driver is being evasive and has

something to hide. See Dion, 859 F.3d at 125-26 (noting that a driver’s “odd answer



 7 The driver repeatedly told Sergeant Pappas that she was cold, asked if she could sit in her car

rather than stand outside, and was clutching her arms around herself to stay warm.
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to a concededly appropriate question about travel itinerary” contributed to the police

officer’s reasonable suspicion). 8

       Fourth, thirteen minutes into the stop, the driver told Sergeant Pappas that

she had slept in the car while she and Owens were in New York visiting Owens’s

family. She also said that, earlier that day, she had bought a sandwich with toll

money that Owens had put in the center console.                  In its closing argument, the

Government argued that these facts contributed to Sergeant Pappas’s reasonable

suspicion. 9   However, all of these statements were made several minutes after

Sergeant Pappas had confirmed the driver’s identity and, therefore, he could have

written the driver a citation and proceeded toward completing the traffic stop. In

other words, they play no part in determining whether Sergeant Pappas had a

reasonable articulable suspicion at the eight-and-a-half-minute mark: that is, the

point at which he transcended the stop’s traffic-related mission. For this reason, I do

not address the Government’s arguments that these statements were suspicious.

       Fifth, in its written response to Owens’s motion, the Government contends that

the driver’s prior conviction also supported Sergeant Pappas’s reasonable suspicion.

In determining whether reasonable suspicion exists, the age and nature of a person’s




 8 Sergeant Pappas later learned that the occupants of the car were returning from a visit to the

metropolitan New York area, which is one of the nation’s largest metropolitan areas. With this
additional information, it was not especially unusual that the driver, a resident of Bangor, Maine,
could not name the locality she was in while visiting the metropolitan New York area.

 9 The Government also asserted that the driver told Sergeant Pappas that she had no money and

had to steal money from Owens and the rear passenger in order to buy food, and that this was also
suspicious. However, this characterization is not supported by the evidence, including the dashcam
video and Sergeant Pappas’s testimony. A little over thirteen minutes into the stop, the driver told
Sergeant Pappas that she did not “like to ask for things,” including money and food, Gov’t’s Ex. 1 at
17:08.
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prior conviction are highly relevant to the weight it should be given. See United

States v. Calvetti, 836 F.3d 654, 667 (6th Cir. 2016) (stating that “an officer’s

knowledge that a defendant has a criminal history is not enough to create a

reasonable suspicion, even when combined with other weaker indicators,” and that

“the specific nature of [a suspect’s] criminal histor[y]” is significant (internal

quotation marks omitted)); United States v. Archuleta, 619 F. App’x 683, 690 (10th

Cir. 2015) (noting that defendant’s criminal history “contribute[d] little to the

reasonable-suspicion inquiry” when the officer’s information had “no specificity with

respect to the nature of [the] drug charges and no indication of how old they might

be”). In Dion, the First Circuit rejected the defendant’s argument that “his twenty-

five-year-old conviction was far too old to support reasonable suspicion,” explaining

that “officers are permitted to consider all [of a suspect’s] criminal misdeeds,

regardless of when they took place.” 859 F.3d at 127. The court noted, however, that

it “was not just the fact of [the defendant’s] conviction that [the officer] found

suspicious,” but that it “was also significant that [the suspect] misrepresented the

extent of his criminal history,” such as the drugs involved and the offense of which he

had been convicted. Id. at 128.

      Here, the driver was forthcoming about her conviction, which was eight to ten

years old. She also told Sergeant Pappas that she was no longer on probation and

that she hadn’t “been in trouble since.” Gov’t’s Ex. 1 at 9:19. Sergeant Pappas

testified that he knew nothing more about the driver’s criminal history other than

what she told him, and he did not cite the driver’s prior conviction in explaining why

he believed he had a reasonable suspicion at the time he called for a K-9 unit. The

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Government, too, does not assert that the driver misrepresented her criminal history,

but simply argues that Sergeant Pappas’s knowledge that the driver “had been

involved in drug-related activity in the past” supported his suspicions. ECF No. 37

at 9. Viewed objectively, the driver’s prior conviction was supportive of a reasonable

articulable suspicion, but was not sufficient on its own to establish a reasonable

articulable suspicion in this instance.

      Sixth, Sergeant Pappas testified that he found it “odd” that the rear passenger

was asleep when he approached the car, and that he had never participated in a

traffic stop “where a passenger . . . has slept through a traffic stop without any

nefarious behavior going on inside the vehicle.” ECF No. 72 at 23. There is no doubt

that, without some explanation, a person’s sleeping through a traffic stop may be

unusual and suspicious. But in this case, the rear passenger did not sleep through

the stop: the video shows that, at least within the second minute of the stop, the rear

passenger responded to Sergeant Pappas’s request for his identification. See Gov’t’s

Ex. 1 at 4:12. Additionally, given the time of night and the rainy conditions—as well

as the fact that the car was driving from New York, which Sergeant Pappas learned

before he called for the K-9—it is unsurprising that the passenger might have been

asleep.   Overall, the rear passenger’s behavior did not meaningfully support a

suspicion of criminal activity.

      Seventh, Sergeant Pappas ascribed significance to the Q-tip, baggie, and plate,

explaining that each object can play a role in the use or distribution of unlawful drugs.

But in the condition and context in which Sergeant Pappas observed these three

items, they were innocuous. When Q-tips are used to filter intravenous drugs, the

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cotton ends are removed, but here the Q-tip was unused. 10 Similarly, the baggie was

intact, empty, and had no residue in it. The plate was likewise clean and bore no

residue, and its and the Q-tip’s presence were consistent with the driver’s

explanation—which came prior to Sergeant Pappas receiving confirmation of her

identity—that she had recently been forced to leave her apartment and was living in

her car. See Gov’t’s Ex. 1 at 10:15-10:35. In context, the presence of these three

common household objects did not contribute measurably to a suspicion of drug

trafficking.

       Finally, the Government contends that the knowledge Sergeant Pappas gained

from his interaction with Owens during the earlier June 2019 traffic stop supported

a reasonable articulable suspicion of criminal activity during the October stop. It is

true that if the June stop had turned up actual evidence of criminal activity involving

Owens, an officer familiar with that evidence could reasonably factor it into his or her

assessment of subsequent interactions with Owens. See Dion, 859 F.3d at 127. But

that did not happen here.

       The June stop resulted in no discovery of incriminating evidence, no arrest,

and no conviction. The video of the June stop reveals that the lead trooper discovered

that the driver and Owens each had a prior weapons-related conviction, but it is not

clear from the evidence whether Sergeant Pappas learned this information, and

neither Sergeant Pappas’s testimony, nor the Government in its written or oral

arguments, cited to it in support of a reasonable articulable suspicion. As for the cash



 10 The driver told Sergeant Pappas that she kept a box of Q-tips in the car’s glove box and that she

used them for hygienic purposes. Gov’t’s Ex. 1 at 10:13.
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found in the car during the June stop, it is not illegal or inherently suspicious for

persons to possess a large amount of cash in a car. Although the video of the June

stop demonstrates that the troopers suspected that Owens and the driver—both

Black men travelling in a car with an out-of-state license plate—had sold or intended

to sell drugs in Maine, the troopers did not discover any evidence to that effect

separate from the discovery of cash. A large amount of cash is, without more, simply

a large amount of cash, and not evidence of criminal activity.

      The Government also argues that Owens’s demeanor during the June stop was

combative and confrontational, whereas during the October stop he was polite and

deferential, and that this changed behavior contributed to Sergeant Pappas’s having

a reasonable suspicion of criminal activity during the October stop. As previously

explained, a police officer’s prior knowledge of specific facts about a person may be

relevant to his assessment of the person’s subsequent conduct. See, e.g., United States

v. Fernandez, 18 F.3d 874, 879 (10th Cir. 1994). Here, however, the assertion that

Owens’s behavior was “radically altered” in the October stop, as argued by the

Government, ECF No. 37 at 9, is counter to the weight of the evidence.

      Contrary to Sergeant Pappas’s testimony and the Government’s argument, in

the video of the June stop, Owens—after protesting the lead trooper’s assertion that

he smelled burnt marijuana in the car—appears relatively calm throughout the

interaction. While he does not appear particularly cooperative or comfortable in the

presence of the troopers, neither does he appear to be especially combative or

confrontational. In fact, early in the stop, the lead trooper described Owens to

another trooper as “just staring straight ahead.” Def.’s Ex. 1 at 8:39. In contrast,

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Owens’s companion, the driver, was argumentative with the troopers, eventually

accusing them of mishandling his cash.

      Sergeant Pappas’s perception of Owens’s behavior during the June stop may

have been affected by the lead trooper’s descriptions of Owens to the other troopers

involved in that stop: Sergeant Pappas testified that the lead trooper had “asked for

backup because the occupants of the car [were] giving him a hard time.” ECF No. 72

at 19. However, the video of the June stop shows that the lead trooper began to say

that the occupants were “giving [him] a hard time” immediately after his argument

with the driver about Owens recording the stop, before any other troopers had

arrived. Def.’s Ex. 1 at 2:51. Later in the stop, the lead trooper again demonstrated

frustration with Owens’s recording. Id. at 21:15. But Owens’s conduct did not impair

the lead trooper’s law enforcement activity, and his decision to record the stop cannot

be characterized as combative. See Gericke v. Begin, 753 F.3d 1, 10 (1st Cir. 2014)

(concluding that “[i]t was clearly established at the time of the stop [in 2010] that the

First Amendment right to film police carrying out their duties in public, including a

traffic stop, remains unfettered if no reasonable restriction is imposed or in place”).

A reasonable suspicion cannot be grounded on a person’s constitutionally-protected

recording of a police encounter.     Overall, the videos do not show that Owens’s

behavior in October was appreciably different from what it was in June.

      Moreover, in at least two additional respects, Sergeant Pappas’s suppression

hearing testimony misstated important facts associated with the June 2019 stop.

Sergeant Pappas testified that, to the best of his recollection, a K-9 had been brought

to the vehicle during the stop and had positively alerted for the presence of drugs. He

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also testified that, to the best of his recollection, when he interacted with Owens

during the stop, Owens had accused one or more of the troopers of having stolen a

portion of the cash found during the search of the inside of the stopped vehicle.

Following the hearing, the Government submitted a memorandum acknowledging

that this testimony was inaccurate: “Having now reviewed the transcript and the

associated exhibits, it is apparent that on these points, Sgt. Pappas’s recollection was

incorrect. The accusation about stolen money was made by a different occupant of

the vehicle stopped on June 27, 2019, and a K-9 did not alert on the vehicle in

question.” ECF No. 73 at 2. Thus, Sergeant Pappas’s assessment of Owens’s behavior

during the October stop in relation to his behavior during the June stop was based

on what appears to be a faulty memory. 11

                                      III. CONCLUSION

       At about eight and a half minutes into the stop on October 29, 2019, Sergeant

Pappas had acquired the information needed to identify the operator of the Kia and

issue a citation for an expired registration violation. Thus, eight and a half minutes

into the stop, Sergeant Pappas was able to take steps to complete the stop’s traffic-

related mission. If he did not have a reasonable suspicion of criminal activity at that

time, his deviation from the traffic aspect of the stop would exceed constitutional

bounds.


 11 Sergeant Pappas’s mistaken testimony with respect to two key facets of the June 2019 stop causes

me not to accept any of his testimony describing the June stop or his assessment of Owens’s demeanor
in October in relation to it. Owens argues separately that I should disbelieve Sergeant Pappas’s
hearing testimony in its entirety due to four judicial decisions granting suppression motions in other
cases in which Sergeant Pappas was a witness. The limited information that Owens has provided
regarding each of the cases does not provide a footing on which to assess the role that Sergeant
Pappas’s testimony played in the legal conclusions reached.

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        The Government has failed to demonstrate the existence of several of the key

reasons Sergeant Pappas cited in support of a reasonable articulable suspicion of

criminal activity that permitted extending the stop.                   These include the driver’s

physical appearance and demeanor; the significance to be afforded to an unused Q-

tip, clean plastic baggie, and a clean plate; and Owens’s demeanor in relation to the

demeanor he exhibited in June. Moreover, Sergeant Pappas’s mistaken memory in

October of Owens’s role in the vehicle stop in June necessarily affected the meaning

that he ascribed to the other factors that were present during the October stop. That

association contributed to Sergeant Pappas’s relatively quick decision that the stop

should be prolonged so that he could conduct a drug investigation. An objective

assessment of what remains—the driver’s initial pulling-over in the left-hand

median, the driver’s professed nervousness and prior conviction, and a rear-seat

passenger asleep at 3:15 in the morning—does not rise to the level of a reasonable

articulable suspicion that would justify prolonging the stop.

        For the foregoing reasons, the prolonged detention that preceded the dog sniff

in this case violated Owens’s right to be secure against an unreasonable search and

seizure as guaranteed by the Fourth Amendment of the Constitution of the United

States. 12 Accordingly, Owens’s Motion to Suppress (ECF No. 32) is GRANTED. All



 12 In the interest of completeness, I address Owens’s alternative argument that even if the traffic

stop was valid up until the dog sniff, Sergeant Pappas also violated the Fourth Amendment by frisking
him after the dog sniff. “[A] reliable canine sniff outside a vehicle can provide probable cause to search
the vehicle.” United States v. Brown, 500 F.3d 48, 57 (1st Cir. 2007) (footnote omitted). Owens has
not challenged the dog’s accuracy or anything else about the reliability of the sniff, and I find that the
dog sniff was adequately performed. See id. at 57 n.3. Thus, once the dog alerted, Sergeant Pappas
had probable cause to search the car and any persons that were inside it—including Owens and the
other passenger.

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evidence obtained after eight and a half minutes into the October 29, 2019 traffic

stop, which is at the 10:50 mark of Government’s Exhibit 1, is ORDERED

suppressed.


      SO ORDERED.

      Dated this 13th day of July, 2021.


                                                   /s/ JON D. LEVY
                                             CHIEF U.S. DISTRICT JUDGE




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